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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 SARAH UPDIKE, et al.                       :    Case No. 1:22-cv-00374
                                            :
      Plaintiffs,                           :    Judge Michael R. Barrett
                                            :
 v.                                         :
                                            :    STIPULATION OF THE PARTIES
 SARA JONAS, et al.                         :
                                            :
      Defendants.                           :



        Plaintiffs, Sarah and James Updike, individually and as parents and next friends for their
three minor children I.U., A.U. and K.U., Jennifer and Antonio Ciolino, individually and as parents
and next friends for their minor child R.C., Natalie and Jeffrey Hastings, individually and as
parents and next friends for their minor child C.J., and Janielle Davis, individually and as parent
and next friend of her minor child J.D. (collectively “Plaintiffs”), and Defendants, Sara Jonas,
Linda Hausfeld, Bob Bibb, Katie Stewart, Leslie Rasmussen, and Larry Hook, all in their official
capacities, and the Board of Education of the Forest Hills School District, and the Forest Hills
School District (collectively “Defendants”), hereby stipulate and agree as follows:
       Defendants will not take any action to enforce, implement or attempt to enforce or
implement the Forest Hills Local School District Board of Education (Board) “Resolution to
Create a Culture of Kindness and Equal Opportunity for All Students and Staff” (Resolution)
which was passed by the Board on June 22, 2022, nor will the Defendants create or commence the
process to create any Policy of the Board which is intended to enforce or implement such
Resolution during the pendency of this case in this Court.
        Upon the execution and filing of this Stipulation by the Parties and approval of the Court,
the briefing schedule for Plaintiffs Motion for Temporary Restraining Order and Preliminary
Injunctive Relief will be stayed.
       The parties further agree that this Stipulation is not a waiver or limitation of any claim or
defense of any party, and that all such claims and defenses are preserved.
         The parties further agree that the undersigned counsel for the parties have been given full
power and authority to enter into this Stipulation and that it will have binding effect upon the
parties.
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Stipulated and Agreed:
On Behalf of the Plaintiffs:            On Behalf of the Defendants:

 s/W. Kelly Lundrigan___________        _s/R. Gary Winters__________________
s/ Nicole M. Lundrigan                  R. Gary Winters (0018680)
W. Kelly Lundrigan (0059211)            Bernard Wharton (0063487)
Nicole M. Lundrigan (0075146)           McCaslin, Imbus & McCaslin, LPA
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Attorneys for Plaintiffs                Attorneys for Defendants



Approved:
                                           /s Michael R. Barrett
                                           Michael R. Barrett, Judge
                                           United States District Court
